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                              UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,
                                                  Case No. 1:23-MJ-00108-DKG
                Plaintiff,
                                                  ORDER RE: TRIAL SETTING AND
       v.                                         CASE DEADLINES

BROOKS ROBERTS, TIMBER
ROBERTS, and JUDY ROBERTS,

                Defendants.


        The trial in the above entitled matter as to all Defendants is presently set to

commence on July 11, 2023. (Dkt. 14, 17, 47.) The Defendants are charged with similar

offenses in a separate case pending before this Court; Case No. 1:23-CR-00053-DKG. The

trial in the separate action is scheduled to commence on August 22, 2023. The Court has

been advised that all parties agree the two cases should be set for trial on the same date, as

the cases involve many of the same witnesses and similar allegations.

        Based on the foregoing and being fully advised in the premises, the Court finds the

interests of justice and judicial economy warrant resetting the above entitled matter to

coincide with the trial setting and case management deadlines in Case No. 1:23-CR-00053-

DKG. Fed. Crim. R. 13. Resetting the trial date in this matter will result in a reasonable and

short continuance of the trial, and will benefit the parties by allowing additional time to

investigate and prepare their cases. Moreover, it will preserve the limited judicial resources

of this District.

        To the extent it may be applicable, the Court finds the ends of justice served by

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continuing the trial setting in this case outweigh the best interests of the public and the

Defendants in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).1 The continuance will provide

counsel a reasonable period of time to effectively review the case and prepare their defenses.

18 U.S.C. § 3161(h)(7)(B)(iv). The Court further finds the continuance may avoid delay

resulting from any trial on other charges against the Defendants. 18 U.S.C. § 3161(h)(1)(B).

Accordingly, any and all period of delay resulting from this continuance, from the date of

this order until the rescheduled trial date is excludable time pursuant to 18 U.S.C.

§ 3161(h)(1) and (7).

        For these reasons, the Court will continue the trial setting in this matter to August 22,

2023 at 12:00 p.m. (MT). The Court will also extend the pretrial filing deadlines and reset

the pretrial conference as stated below.

                                                    ORDER

        THEREFORE IT IS HEREBY ORDERED as follows:

        1. The trial presently set for July 11, 2023 is VACATED AND RESET to August

             22, 2023 at 12:00 p.m. (MT) in Boise Courtroom Six. The trial is expected to

             last two to three days.

        2. A telephonic pretrial status conference is set for August 8, 2023 at 1:00 p.m.

             (MT). The Government is directed to initiate the conference call with all opposing

             counsel on the line to 208-334-9463.

        3. Any and all pretrial motions must be filed no later than July 6, 2023. Motions in


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  The Speedy Trial Act applies to Class A misdemeanors and felonies charged in an information or indictment. See
18 U.S.C. § 3161(b), (c)(1); United States v. Nickerson, 731 F.3d 1009, at 1012-1014 (9th Cir. 2013). In this case,
however, Defendants are charged by way of a Criminal Complaint with Class B misdemeanors. (Dkt. 1.) The Court
includes findings relevant to excludable time under the Speedy Trial Act herein for completeness, and to ensure
Defendants rights have been fully considered and protected.


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          limine must be filed on or before July 20, 2023. Trial briefs or statements,

          proposed voir dire, proposed jury instructions, and proposed verdict forms must

          be filed no later than August 14, 2023. All pretrial filings shall be made as

          directed in the Criminal Procedural Orders previously entered and all other

          provisions of the Criminal Procedural Orders remain in effect, except as otherwise

          ordered herein or directed by the Court. (Dkt. 14, 17, 47.)


      IT IS FURTHER ORDERED that any and all period of delay resulting from this

continuance, from the date of this order until the rescheduled trial is deemed EXCLUDABLE

TIME pursuant to 18 U.S.C. § 3161(h)(1) and (7).



                                             DATED: June 20, 2023


                                             _________________________
                                             Honorable Debora K. Grasham
                                             United States Magistrate Judge




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